  Case 8-18-73782-reg                Doc 25        Filed 08/22/18      Entered 08/22/18 14:48:49




UNITED STATES BANKRUPCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
In re:

PATRICIA ROSE LAMANNA
                                                                        Case No.:18-73782-reg



                         Debtor.
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                                      ORDER FOR RETENTION
                                   OF ATTORNEYS FOR TRUSTEE

       Upon the application of RICHARD L. STERN, ESQ., trustee of the above

captioned estate, dated June 21, 2018, seeking an Order authorizing him to employ and

retain the law firm of MACCO & STERN, LLP, as attorneys in the within proceeding,

under the provisions of a General Retainer, and upon the affidavit of MICHAEL J.

MACCO, a member of the firm of MACCO & STERN, LLP, stating that the said law firm

has no present connection with any of the creditors, and further that they represent no

adverse interest to the above estate in the matters upon which they are to be engaged,

and it appearing that it is necessary for the Trustee to retain such counsel, it is


       ORDERED, that RICHARD L. STERN, ESQ., Chapter 7 trustee be, and he hereby

is, authorized to retain the law firm of MACCO & STERN, LLP, as attorneys to represent

him in the within proceeding under a General Retainer effective as of the bankruptcy

filing date of June 4, 2018 and it is further

       ORDERED, that no compensation or reimbursement of expenses shall be paid

Macco & Stern, LLP for professional services rendered to the Trustee, except under a

proper application and by further order of this Court following a hearing on notice

pursuant to Sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, and

the Local Rules, and it is further
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        ORDERED, that ten business days prior to any increase in Attorney’s rates for

 any individual employed by the Attorney and retained by the Trustee pursuant to court

 order, Attorney shall file a supplemental affidavit with the Court setting forth the basis for

 the requested rate increase pursuant to 11 U.S.C. Sections 330(a)(3)(F). Parties in

 interest, including the United States Trustee, retain all rights to object to or otherwise

 respond to any rate increase on any and all grounds, including, but not limited to, the

 reasonableness standard under 11 U.S.C. Section 330. Supplemental affidavits are not

 required for rate increases effective on or after the date the Trustee submits the

 Trustee’s Final Report to the United States Trustee.




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Dated: Central Islip, New York                                     Robert E. Grossman
       August 22, 2018                                        United States Bankruptcy Judge
